                                                         SO ORDERED.


                                                         Dated: July 23, 2021
    1

    2
                                                           ______________________________________
    3                                                      Madeleine C. Wanslee, Bankruptcy Judge

    4

    5

    6

    7                   IN THE UNITED STATES BANKRUPTCY COURT
    8                            FOR THE DISTRICT OF ARIZONA
    9 In re                                               Chapter 11
   10
      ADVANCED GREEN INNOVATIONS, LLC;                    Case No. 2:19-bk-11766-MCW
   11 ZHRO SOLUTIONS, LLC; AND                            Case No. 2:19-bk-11771-MCW
      ZHRO POWER, LLC,                                    Case No. 2:19-bk-11768-MCW
   12
                        Debtors.                          (Jointly Administered)
   13

   14 ADVANCED GREEN INNOVATIONS, LLC;                    Adversary No. 2:20-ap-00068-MCW
        ZHRO POWER, LLC, ZHRO SOLUTIONS,
   15   LLC, GREEN ENGINE CONVERSIONS,
                                                          ORDER APPROVING AND
        LLC, GREEN TECH DIESEL
   16   CONVERSIONS, LLC, DUAL FUEL AZ II,                IMPLEMENTING SETTLEMENT
        LLC, CONWAY FEED, LLC, JEFF BEACH,                AGREEMENT AND MUTUAL
   17                                                     RELEASE
        LOMAR HOLDINGS, LLC; DF EMPOWER,
   18   LLC, BEACH CORP.
                                                          Hearing Date: July 22, 2021
   19                   Plaintiffs,                       Hearing Time: 1:30 p.m.
        vs.
   20

   21 DUAL FUEL, LLC, a Delaware limited
      liability company, KENNETH and LORI
   22 LOSCH, husband and wife, COCHISE
      INVESTMENTS, LLC, a Delaware limited
   23 liability company, R. Craig Coppola and Tracy

   24
      Coppola, husband and wife.

   25                   Defendants.

   26

   27           Plaintiffs filed the Motion For An Order Approving and Implementing Settlement

   28 Agreement and Mutual Release and Modifying Preliminary Injunction ("Motion") on
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    1 June 29, 2021 [Doc. 189] attaching the proposed “Settlement Agreement and Mutual

    2 Release” (the “Agreement”) as Exhibit A. (The Agreement is also attached hereto as

    3 Exhibit A for ease of reference.) On June 29, 2021, the Motion was duly noticed to the

    4 parties in this Adversary Case, to the U.S. Attorneys' Office with attention to the counsel

    5 assigned to Losch's pending criminal case before the United States District Court for the

    6 District of Arizona, and counsel for American Power Group, Inc. ("APG"). Notice to the

    7 U.S. Attorney's Office was required by paragraph 11 of the Agreement. The Court finds

    8 that notice was appropriate under the circumstances of this adversary case.

    9         No objections to the Motion have been filed with the Court, nor are the parties
   10 aware of any objections to the Motion. The Court conducted a hearing on the Motion on

   11 July 22, 2021 at 1:30 p.m., and permitted the parties to appear telephonically.

   12         At the hearing, counsel for Plaintiffs and counsel for Defendants reported that all
   13 parties except Non-Litigating parties John Madrigal and Robert Gunnell timely executed

   14 the Agreement. Exhibit A hereto is the Agreement with all timely signatures.

   15         Based upon the record before the Court, and the statements of the counsel at the
   16 hearing, it is hereby ORDERED as follows:

   17         1.     The Court finds that the proposed Settlement Agreement is fair and
   18 equitable, and that it is an appropriate exercise of the reorganized Debtor's business

   19 judgment. The Motion is granted, and the Agreement is approved. The Court notes that

   20 Mr. Madrigal and Mr. Gunnell are "dropped" from the Agreement in accordance with the

   21 terms of paragraph 24.

   22         2.     That the Agreement shall be implemented in accordance with its terms. The
   23 final share amounts to be distributed by APG, pursuant to paragraph 5 of the Agreement,

   24 to Plaintiffs, are set forth on Exhibit B to this Order. The share amount to be distributed

   25 to Defendant Dual Fuel is set forth in paragraph 6 of the Agreement.

   26         3.     That the June 3, 2020, Order Granting Preliminary Injunction [Doc. 54]
   27 ("Preliminary Injunction") and the UCCs (as defined under the Agreement, the

   28 “UCCs”) are hereby modified to permit the parties and American Power Group, Inc. to

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     1 perform the terms of the Agreement. The Preliminary Injunction enjoined, among other

     2 things, Defendants from alienating, transferring, dissipating, or otherwise disposing of no

     3 less than 299,145,900 shares of stock in APG. The 299,145,900 shares are hereafter

     4 referred to as the "APG Shares." A portion of these shares were issued to Defendant Dual

     5 Fuel, LLC, and is referenced in the Agreement as the “Dual Fuel Stock.” A portion of

     6 the APG shares were not issued to Dual Fuel, but APG has indicated to the parties that

     7 such unissued shares were also to be issued to Dual Fuel. All of the APG Shares are

     8 restricted under the terms of the Preliminary Injunction.

     9         4.     That the Preliminary Injunction and UCCs are modified to permit and
    10 require that Defendant Dual Fuel shall return the Dual Fuel Stock to APG by returning

    11 any and all original stock certificate(s) to APG.

    12         5.     That the Preliminary Injunction and UCCs are further modified to permit
    13 and require APG to redeem and reissue the stock as provided in the Agreement (Exhibit

    14 A hereto), with further detail as set forth on Exhibit B hereto.

    15         6.     That, provided that (1) the terms of the Agreement are fully complied with
    16 by the parties to the Agreement and APG; and (2) the stock is reissued in accordance with

    17 the Schedule set forth in Exhibit B hereto, that the parties may submit the stipulation to

    18 terminate the Preliminary Injunction and seek to dismiss this Adversary proceeding and

    19 shall record termination notices for the UCCs as set forth in the Agreement.

    20         7.     That, the Court will hereby exercise its discretion to retain, or be referred,
    21 jurisdiction to enforce and implement this Order and the Agreement pursuant to paragraph

    22 9 of the Agreement, which has been consented to by each party to the Agreement.

    23

    24                So ORDERED on the date set forth above.
    25

    26

    27

    28

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                         Exhibit A




                                                                      Exhibit A
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              SETTLEMENT AGREEMENT AND MUTUAL RELEASE
                     (AGI, et al. v. Dual Fuel, LLC, et. al.)

                                               Introduction

          THIS SETTLEMENT AGREEMENT AND MUTUAL RELEASE ("Agreement") is
 entered into on the 25th day of June, 2021, by and between: 1) Plaintiffs: Advanced Green
 Innovations, LLC ("AGI"), ZHRO Solutions, LLC and ZHRO Power, LLC (collectively
 "ZHRO") and together with AGI, the "Debtor Plaintiffs"1, together with Green Engine
 Conversions, LLC, Green Tech Diesel Conversions, LLC, Dual Fuel AZ II, LLC, Conway Feed,
 LLC, Lomar Holdings, LLC, DF Empower, LLC, and Beach Corp. (collectively the "Non-Debtor
 Plaintiffs") (Debtor Plaintiffs and the non-Debtor Plaintiffs are together referred to as the
 ("Plaintiffs"); and 2) the Defendants: Dual Fuel, LLC ("Dual Fuel"), Kenneth and Lori Losch
 ("Losch"), and Cochise Investments, LLC ("Cochise,") (collectively the "Defendants").
 Additional parties to this Agreement are Michael Drance, Terry Kennon, Michael Brown, Greg
 Brown, Thomas C. Niccoli, Kasey Knoles, Michael Hill, Comanche Gas Solutions, LLC, Brian
 Snider, Adam Webb, John Madrigal, Robert Gunnell, Sebastean Losch, Kristean Losch, and
 Theodore Claassen, Sr. ("Non-Litigating Parties"). Collectively, the Plaintiffs, the Defendants,
 and all Non-Litigating Parties shall be referred to herein as the Parties.


                                                   Recitals
     A.            APG Shares. As of date of this Agreement, American Power Group, Inc. ("APG")
 has issued 243,113,500 shares of stock to Dual Fuel ("Dual Fuel Stock"). In addition, APG has
 56,032,400 additional shares which are eligible for issuance to Dual Fuel. The Dual Fuel Stock
 and the additional 56,032,400 shares (total 299,145,900 shares) of APG shall be referred to herein
 as the "APG Shares." The ownership of the APG Shares is the subject of claims in the Adversary
 Case, defined below. Debtor Plaintiffs allege, among other things, that such shares were rightfully
 the property of the Debtor Plaintiffs, and should not have been issued, and should not be issued,
 to Dual Fuel. Plaintiffs secured the TRO and Preliminary Injunction (both defined below), among




 1
   Debtor Plaintiffs are succeeded by the reorganized debtor, Proteum Energy, LLC ("Proteum"). Proteum is a Party
 to this Agreement, and will execute this Agreement on behalf of the Debtor Plaintiffs.

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 other reasons, in order to reflect that the APG Shares are subject to adverse claims of ownership.
 Defendants dispute Plaintiffs’ assertions and allege that Dual Fuel rightfully owns the APG Shares.


     B.            Conway Feed Case. On October 11, 2019, Conway Feed, LLC filed suit against
 Dual Fuel, LLC. Case No. CV2019-013572, Maricopa County Superior Court ("Conway Feed
 Case"). The Default Judgment was entered on June 15, 2020 and was later set aside pursuant to
 the Motion to Set Aside Default. A Stipulation and Joint Request to Reschedule Scheduling
 Conference were filed on May 21, 2021. An Order vacating the Rule 16(d) Scheduling Conference
 was entered May 26, 2021. The Conway Feed Case remains pending before the Superior Court.


     C.            Bankruptcy Cases. On September 16, 2019, Advanced Green Innovations, LLC, a
 Nevada limited liability company and its wholly owned subsidiaries ZHRO Solutions, LLC, a
 Nevada limited liability company; and ZHRO Power, LLC, a Delaware limited liability company
 (collectively the "Debtors"), filed their voluntary Chapter 11 bankruptcy petitions under Title 11
 of the United States Code (the "Bankruptcy Code") in the United States Bankruptcy Court for the
 District of Arizona (the "Bankruptcy Court") (the "Petition Date"), Case Nos. 2:19-bk-11766-
 MCW, 2:19-bk-11771-MCW, and 2:19-bk-11768-MCW ("Bankruptcy Cases").


     D.            Adversary Case. On March 11, 2020, Plaintiffs filed the adversary Complaint
 (Verified) (Usurpation of Corporate Opportunity, Fraudulent Transfer, Securities Fraud, Fraud,
 Misappropriation, Turnover, Request for Imposition of Constructive Trust, Temporary Restraining
 Order, Injunction, Avoidance of Post-Petition Transfer) [Dkt. No. 1] against the Defendants,
 Adversary Case No. 2:20-ap-00068-MCW ("Adversary Case").


     E.            Cases. Together, the Conway Feed Case and the Adversary Case shall be referred
 to as the "Cases."


     F.            TRO.      On March 11, 2020, the Bankruptcy Court entered the Temporary
 Restraining Order [Dkt. No. 5] (“TRO”). The TRO enjoined, among other things, Defendants
 from alienating, transferring, dissipating or otherwise disposing of the APG Shares, or any other
 any interests in APG pending further order of the Court.


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     G.            Preliminary Injunction.   The Bankruptcy Court entered the Order Granting
 Preliminary Injunction [Dkt. No. 54] on June 3, 2020 (“Preliminary Injunction”). Thereafter,
 the Plaintiffs recorded the following UCC documents (collectively, the “UCCs”): on June 5, 2020,
 a UCC-1 was recorded by the Iowa Secretary of State [No. P20001312-3]; on June 26, 2020, a
 UCC-1 was recorded by the Arizona Secretary of State [No. 2020-004-1384-9], and on June 4,
 2020, a UCC-1 was recorded by the Delaware Department of State [No. 2020 3916469]. The
 Preliminary Injunction echoed the terms of the TRO.


     H.            Plan. On July 22, 2020, the Court entered the Order Confirming Chapter 11 Plan
 of Reorganization Jointly Proposed by the Debtors, CH4 Power, LLC, and the Ad Hoc Committee
 of Certain Creditors Dated June 8, 2020 [Dkt. No. 455].


     I.            Contribution and Recovery Agreement. On March 1, 2020, the Plaintiffs entered
 into the Contribution and Recovery Agreement ("CRA"). Under that agreement, costs and
 recoveries were shared amongst the Plaintiffs based upon the agreed percentages in Exhibit A
 thereto.


     J.            Second Amended Complaint. On September 10, 2020, the Plaintiffs filed the
 Second Amended Complaint (Verified) (Usurpation of Corporate Opportunity, Fraudulent
 Transfer, Securities Fraud, Fraud, Misappropriation, Turnover, Request for Imposition of
 Constructive Trust, Temporary Restraining Order, Injunction, Avoidance of Post-Petition
 Transfer) [Dkt. No. 76] in adversary case 2:20-ap-00068-MCW.


     K.            Answer. On September 25, 2020, the Defendants filed their Answer to the Second
 Amended Complaint [Dkt. No. 79].


     L.            Non-Litigating Parties.   Michael Drance ("Drance") invested in a Dual Fuel
 distributorship agreement, but is not a plaintiff in the Adversary Case. The Plaintiffs and the
 Defendants desire to resolve any potential claims of Drance in this Agreement. Defendants and
 Plaintiffs have propounded various discovery requests concerning the acts of Terry Kennon,


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 Michael Brown, Greg Brown, Thomas C. Niccoli, Kasey Knoles, Michael Hill, Comanche Gas
 Solutions, LLC, Brian Snider, Adam Webb, John Madrigal, Robert Gunnell, Sebastean Losch,
 Kristean Losch, and Theodore Claassen, Sr. related to the Adversary Case. The Parties desire to
 resolve any potential assertions concerning such parties in this Agreement.


     M.            Motion to Implement. The Parties have determined to resolve all of the issues and
 claims between them, and agree to permit the Court to order: (1) the modification of the
 Preliminary Injunction and implementation of this Agreement, (2) the return of Dual Fuel Stock
 to APG for, the re-distribution of the APG Shares as set forth herein, and (3) such other matters as
 required to implement the Agreement ("Motion to Implement").


     N.            Standstill and no admissions. A Notice of Preliminary Settlement and Stipulation
 has been filed with the Bankruptcy Court on May 26, 2021. The Court entered an Order Granting
 Stipulation for Litigation Standstill on May 27, 2021 [Dkt. No. 186]. The Parties desire to
 compromise and settle, without admission of liability by any Party, any and all claims, causes
 of action, actions, demands, damages, and costs, whether known, suspected or unknown, fixed,
 contingent, liquidated or unliquidated in any way relating to the Cases, Dual Fuel or APG, and
 any and all threatened claims or counterclaims related to the Cases.


          NOW, THEREFORE, for and in consideration of the mutual promises and covenants,
 warranties, releases and agreements contained herein, and other good and valuable consideration
 to each of the Parties hereto, the receipt and sufficiency of which are hereby acknowledged,
 the Parties do hereby covenant and agree as follows:


                                                Terms


          1.       Recitals Incorporated. The Recitals set forth above are incorporated herein by
 reference and shall constitute Terms of this Agreement.


          2.       No Other APG shares Owned by Defendants. Defendants each represent and
 warrant, that other than the APG Shares, there are no other APG shares issued to, nor any options,

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 warrants, executory purchase agreements, or other rights to acquire, or exercise any proxy for, any
 additional shares of APG available to any Defendant or any entity directly or indirectly affiliated
 with any of the Defendants, and/or, other than existing APG shareholders, any “insider” of
 Defendants, as that term is defined in 11 U.S.C. §101 (31).


          3.       Modification of Preliminary Injunction. Plaintiffs agree to permit the Court to
 order modification of the Preliminary Injunction and UCC-1s (which recorded the Preliminary
 Injunction) as necessary for the Court to order performance of this Agreement. Plaintiffs will file
 an appropriate motion ("Motion to Implement ") within two (2) business days of execution of
 this Agreement by all parties hereto. Defendants will join in the Motion. The Plaintiffs and
 Defendants agree to seek expedited consideration by the Bankruptcy Court of the Motion. The
 Motion shall request the Court order return of the stock issued to Dual Fuel to APG and the
 redemption and reissuance of the stock by APG as provided herein, and the terms of such issuance,
 and will otherwise ask the Court to order implementation of this Agreement. The Court's final and
 non-appealable order granting the Motion to Implement shall be referred to herein as the "Order
 Approving and Implementing Settlement."


          4.       Transfer of APG Stock Back to APG. Within two (2) business days of the entry
 of the Order Approving and Implementing Settlement, Dual Fuel will return any and all original
 APG stock certificate(s) to APG, for subsequent re-issuance as noted in Sections 5 and 6 below.


          5.       Transfer of APG Stock to Plaintiffs. Within 2 business days of APG receiving
 the return of the Dual Fuel Stock certificate, in accordance with the Order Approving and
 Implementing Settlement, APG agrees to instruct its transfer agent to issue stock certificates
 representing 80% (239,316,720 shares) of the APG Shares, in the aggregate, with all voting rights
 with respect to such shares, to the following parties (amounts are based upon the CRA):
          Proteum Energy, LLC (Reorganized AGI /ZHRO)                47,863,344 shares
          Green Engine Conversions, LLC                              86,996,404 shares
               Bender Ventures, LLC
               BTPez, LLC
               DG & KIKI Family Investments, LLC
               Fishes & Loaves LLC


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              Robert R. & Barbara E. Fraley
              Rocky Gingg
              Graham Family Investments, LLC
              Linda M. and Peter A. Hamstra
              TandKHowardIII, LLC
              Paul C. Kottler and Bethany Powell JTWROS-
              Joint Tenants with Right of Survivorship
              Reg C. Martin
              Olson Office Warehouse, LLC
              Pauley Family Trust
              Teri M. Pebsworth Supplemental Needs Trust
              Tailing Tarpon LLC
              David L. Tyson
              Charles Vagrosky
              Robert T. & Andrea M. VanHofwegen
              Young Family Living Trust

          Dual Fuel AZ II, LLC                                      47,403,866 shares
          Conway Feed                                               7,811,298 shares
          DF Empower, LLC                                           31,264,336 shares
              West Coast Enterprises LP
              WG Partners LLC
              Claasen JR PLC
              Jackson Enterprises LLC
              Ron and Nancy Hanson
              C3 Green II LLC

          Green Tech Diesel Conversions, LLC                        5,992,491 shares
          Lomar Holdings, LLC                                       7,485,827 shares
          Beach Corp.                                               4,499,154 shares

          The newly issued shares will be subject to restrictions under 17 C.F.R. § 230.144 ("Rule
 144"), and must be held for one year before they can be sold under Rule 144. If any transferee
 acquires 10% or more of the outstanding shares of APG, the transferee will be deemed an
 “Affiliate” and the shares deemed to be “Control Securities.” Control Securities transferred in
 compliance with Rule 144 can become freely tradeable immediately, but if Rule 144 is not met,
 they become “restricted securities,” as though they had been issued directly by the company in an
 unregistered private placement. No individual Plaintiff, nor any group of Plaintiffs, shall be
 considered or deemed to be a successor or assign of Dual Fuel by reason of the issuance of the
 APG Shares as set forth herein.

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          6.       Transfer of APG Stock to Dual Fuel. In addition, within two (2) business days
 of APG receiving the return of the Dual Fuel Stock certificate and in accordance with the Order
 Approving and Implementing Settlement, APG agrees to instruct its transfer agent to reissue a
 stock certificate representing 20% (59,829,180 shares) from the existing stock certificate of the
 Dual Fuel APG Shares, with all voting rights with respect to such shares, to Dual Fuel. The newly
 issued shares will be subject to restrictions under Rule 144.


          7.       APG Board of Directors. Effective upon entry of the Order Approving and
 Implementing the Settlement: (a) Defendant Losch shall be deemed to have resigned from the
 APG Board of Directors, and resigns in any capacity as an officer, director, employee, consultant,
 licensee or agent of APG; (b) Defendants assign all of Dual Fuel's rights, such as they may be, to
 nominate board members of APG to Plaintiffs, and (c) Defendants assign any other operational
 controls that Dual Fuel may possess with respect to APG, to Plaintiffs. Defendants represent and
 warrant that other than the APG stock that was issued to Dual Fuel under this Agreement, they
 have, or will have, no rights, positions, or agreements with respect to APG. Defendants agree that
 Dual Fuel will, if a share vote is required, vote its shares in favor of the Board candidate(s)
 proposed by Plaintiffs, or some of them. Losch agrees that he will not serve in the capacity as an
 officer, director, board member, employee, licensee or consultant of APG.


          8.       Master Dealer Installer Agreement. Effective upon entry of the Order Approving
 and Implementing the Settlement, Defendants agree that the Master Dealer-Installer Agreement,
 and any and all amendments thereto, between Dual Fuel and APG is terminated, and that
 Defendants, and any and all affiliates of Defendants, shall have no further rights with respect to
 such agreement.


          9.       Termination of the Preliminary Injunction and Dismissal With Prejudice.
 Within 5 business days of: (1) The Order Approving and Implementing the Settlement, and (2)
 APG's compliance with the terms of this Agreement, the Plaintiffs and Defendants will submit a
 stipulation that all litigation between them (the Cases) will be dismissed with prejudice, that the
 Preliminary Injunction shall terminate and be of no further effect, and that no costs or fees will be
 assessed by the Court in favor of any Party. Upon the Court's Dismissal With Prejudice of the


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 Adversary Case, the Plaintiffs will record termination notices for the UCC's within 5 business
 days. The Parties agree that, subject to the Bankruptcy Court's discretion, the Bankruptcy Court
 may retain, or be referred, jurisdiction to enforce this Settlement Agreement, and that any action
 to enforce or for interpretation of this Settlement Agreement or any related matter, may be brought
 in the United States Bankruptcy Court for the District of Arizona, and the parties agree to submit
 to the exclusive jurisdiction of, and agree that venue is proper in, such Court, and that such forum,
 shall be the exclusive forum for resolving disputes arising out of this Agreement. The Parties waive
 any jury trial rights with respect to any controversy concerning this Agreement.


          10.      Mutual Releases. Upon Entry of the Order Approving and Implementing the
 Settlement, the following releases shall be automatically and fully effective as set forth herein:

                   a.       Plaintiffs release Defendants. Plaintiffs, on behalf of themselves and their
 agents, representatives, attorneys, officers, directors, shareholders, employees, members,
 successors and assigns, do hereby release, remise, and forever discharge, and covenant not to bring
 against Defendants, and parties included therein, and their agents, representatives, attorneys,
 officers, directors, shareholders, members, employees, successors and assigns, (i) any and all
 claims, causes of action, actions, demands, damages, and costs, whether known, suspected or
 unknown, fixed, contingent, liquidated or unliquidated which are in any way related to the Cases,
 Dual Fuel or APG, and (ii) any and all threatened claims or counterclaims related to the Cases.

                   b.       Defendants release Plaintiffs. Defendants, on behalf of themselves and their
 agents, representatives, attorneys, officers, directors, shareholders, employees, members,
 successors and assigns, do hereby release, remise, and forever discharge, and covenant not to bring
 against Plaintiffs, and parties included therein, and their agents, representatives, attorneys,
 officers, directors, shareholders, members, employees, successors and assigns, (i) any and all
 claims, causes of action, actions, demands, damages, and costs, whether known, suspected or
 unknown, fixed, contingent, liquidated or unliquidated which are in any way related to the Cases,
 Dual Fuel or APG, and (ii) any and all threatened claims or counterclaims related to the Cases.

                   c.       Release of Non-Litigating Parties. Plaintiffs and Defendants, on behalf of
 themselves and their agents, representatives, attorneys, officers, directors, shareholders,


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 employees, members, successors and assigns, do hereby release, remise, and forever discharge,
 and covenant not to bring against the Non-Litigating Parties, and parties included therein, and their
 agents, representatives, attorneys, officers, directors, shareholders, members, employees,
 successors and assigns, (i) any and all claims, causes of action, actions, demands, damages, and
 costs, whether known, suspected or unknown, fixed, contingent, liquidated or unliquidated which
 are in any way related to the Cases, Dual Fuel or APG, and (ii) any and all threatened claims or
 counterclaims related to the Cases. Notwithstanding anything in this Agreement to the contrary,
 nothing in this Agreement shall release any investors' interests in any Non-Debtor Plaintiff.

                   d.       Release by Non-Litigating Parties. The Non-Litigating Parties , on behalf
 of themselves and their agents, representatives, attorneys, officers, directors, shareholders,
 employees, members, successors and assigns, do hereby release, remise, and forever discharge,
 and covenant not to bring against Plaintiffs or the Defendants, and parties included therein, and
 their agents, representatives, attorneys, officers, directors, shareholders, members, employees,
 successors and assigns, (i) any and all claims, causes of action, actions, demands, damages, and
 costs, whether known, suspected or unknown, fixed, contingent, liquidated or unliquidated which
 are in any way related to Dual Fuel or APG, and (ii) any and all threatened claims or
 counterclaims related to the Cases. Notwithstanding anything in the Agreement to the contrary,
 nothing in this Agreement shall release any investors' interests in any Non-Debtor Plaintiff.

                   e.       For clarity, there are no releases between and among the Non-Litigating
 Parties contained in this Agreement.

                   f.       Notwithstanding anything to the contrary in this Agreement, the Parties
 reserve the right to enforce provisions of this Agreement.

                   g.       Without modifying or reducing the releases set forth in 10 a through d
 herein, no Party hereto is indemnifying or insuring any other Party from or against any potential
 claims by third parties.

          11. Notice to U.S. Attorney's Office. The Motion to Implement shall be served upon the
 United States Attorney for the District of Arizona, to the attention of the counsel assigned to
 Losch's pending criminal case before the United States District Court for the District of Arizona,


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 Case No. CR-19-00294-001-PHX-MTL. In the event there is any objection to the Motion to
 Implement filed by the U.S. Attorney's office, and if the objection is that this Agreement is legally
 unable to be performed and such objection is determined to be valid by entry of an order from a
 court of competent jurisdiction, this Agreement will be deemed null and void, and it may not be
 relied upon for any purpose.


          12.      No Representations Regarding Tax/ Securities Treatment. No party to this
 Agreement is relying upon any advice or representations of any other party with respect to the tax
 consequences, or securities consequences, of this Agreement. Each party hereto expressly agrees
 that it is responsible for seeking and obtaining appropriate tax or accounting advice, and securities
 trading advice.


          13.       Advice of Counsel. Each party has received independent legal advice from their
 attorney with respect to the advisability of making the settlement set forth herein, and executing
 this Settlement Agreement. All parties hereto agree that they, or their representatives, participated
 in the drafting of this Agreement or had the opportunity to do so. All parties hereto agree that they
 were separately represented and advised by counsel with respect to the provisions of this
 Agreement.


          14.      No Admission. The Parties agree that in entering into this Settlement Agreement
 there is no admission of any liability, wrongdoing or fault.


          15.      Governing Law. This Settlement Agreement shall be construed and enforced in
 accordance with the laws of the State of Arizona and the United States of America.

          16.      Joint Drafting.   Each Party has cooperated in and reviewed the drafts and
 preparation of this Settlement Agreement and no Party shall be deemed the "drafter" in this
 Agreement. Hence, the Agreement shall be construed within its fair meaning and not against any
 Party hereto.

          17.      Attorneys Fees. No attorney's fees or costs shall be assessed against or for any
 Party as the result of the Litigation. However, in the event that there is litigation commenced after


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 the date that this Settlement Agreement is executed asserting a breach of this Settlement
 Agreement, the prevailing party or parties shall be entitled to recover costs, including reasonable
 attorney's fees incurred in such litigation to enforce the terms of this Settlement Agreement.

          18.      Entire Agreement. This Agreement constitutes the entire agreement of the Parties
 relating to the subject matter of this Agreement and supersedes all prior oral and written
 agreements relating to the subject matter of this Agreement.

          21.      Modification. This Agreement may not be amended, supplemented, changed or
 modified in any manner, except by a writing signed by each of the Parties, Moreover, parole
 evidence cannot be used to interpret, alter, or contradict the terms of this Agreement.

          22.      Severance. If any provision or part of any provision of this Agreement shall for
 any reason be held to be invalid, unenforceable or contrary to public policy or any law, then the
 remainder of the Agreement shall not be affected thereby and shall remain in full force and effect.

          23.      Non-Disparagement/Confidentiality Provision. The Parties and their counsel
 recognize that this Agreement will be filed with the Court as an exhibit to the Motion to Implement.
 Further, the Parties understand that certain other parties will reasonably require knowledge of this
 Agreement in order to complete future transactions. The Parties are permitted to advise their
 investors, shareholders or members of this Agreement. The Parties agree to reasonably refrain
 from further commenting upon or publicizing this Agreement, unless required by law.

          24.      Counterparts, Required Dates of Execution. This Agreement may be executed
 in counterparts by .pdf, and counsel representing each respective Party shall e-mail a .pdf of the
 signatures to the opposing counsel. The Parties reserve the right to later request original signatures
 from the Plaintiffs and Defendants, allowing a reasonable period time for transmittal of such
 originals. Plaintiffs, Defendants and Drance are each required to execute this Agreement, and
 provide at least a .pdf signature to their counsel by June 25, 2021, or this Agreement shall be
 deemed null and void. Non-Litigating Parties (other than Drance), if they wish to derive the benefit
 of any provision of this Agreement, must each execute this Agreement by no later than July 2,
 2021 at 5:00 P.M. Arizona time and must provide a .pdf of its signature to either counsel for
 Plaintiffs or counsel for the Defendants by such date and time. Any Non-Litigating Party (other


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 than Drance) that fails to execute this Agreement on or before such date and time shall be
 deemed "dropped" as a party to this Agreement, shall be excluded from the Agreement, and
 shall not be entitled to any benefits hereunder. The Agreement shall be deemed fully binding
 and valid regardless of whether a Non-Litigating Party "drops" by virtue of a failure to timely sign.

          25.      Notice. Notice given to any party under this Agreement shall be given by e-mail,
 with a copy sent by overnight express mail, and shall be deemed effective two full business days
 after sending the overnight express mail. Courtesy copies do not constitute notice to a party.
 Notices shall be provided at the following addresses:




                                          Debtor Plaintiffs:
  ADVANCED GREEN INNOVATIONS, LLC                   ZHRO SOLUTIONS, LLC
  Attn: John D. Rosenfeld                           Attn: John D. Rosenfeld
  c/o Proteum Energy, LLC                           c/o Proteum Energy, LLC
  120 N 44th Street, Suite 400                      120 N 44th Street, Suite 400
  Phoenix AZ 85034                                  Phoenix AZ 85034
  john.rosenfeld@proteumenergy.com                  john.rosenfeld@proteumenergy.com

  ZHRO POWER, LLC
  Attn: John D. Rosenfeld
  c/o Proteum Energy, LLC
  120 N 44th Street, Suite 400
  Phoenix AZ 85034
  john.rosenfeld@proteumenergy.com


                                        Non-Debtor Plaintiffs:
  Perry Pauley                                      Brian Tolman
  GREEN ENGINE CONVERSIONS, LLC                     GREEN TECH DIESEL CONVERSIONS, LLC
  4920 W Electra Ln                                 3681 E Arabian Dr
  Glendale AZ 85310                                 Gilbert AZ 85296
  ppauley05@gmail.com                               brian@greentechdiesel.com

  Kyle Conway                                       Kyle Conway
  DUAL FUEL AZ II, LLC                              CONWAY FEED, LLC
  1620 E Country Ln                                 1620 E Country Ln
  Gilbert AZ 85298                                  Gilbert AZ 85298
  kyle@dualfuelaz.com                               kyle@dualfuelaz.com



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  Mark Williams                                      Ryan Zeleznak
  LOMAR HOLDINGS, LLC                                DF EMPOWER, LLC
  mark@lomarcompanies.com                            10168 E Bayview Dr
                                                     Scottsdale AZ 85258
                                                     ryan@creamistryn7.com

  Jeff Beach
  BEACH CORP.
  7114 E. Stetson Dr., Ste. 400
  Scottsdale AZ 85251
  jbeach@hogangroupaz.com


                   CC: Michael W. Carmel, Esq.
                       Law Offices of Michael W. Carmel, Ltd.
                       80 East Columbus Avenue
                       Phoenix, AZ 85012

                          Alisa C. Lacey, Esq.
                          Stinson, LLP
                          1850 N. Central Avenue, Suite 2100
                          Phoenix, AZ 85004


                   Defendants:

                          Ken Losch
                          2801 E. Camelback Rd. Suite 200
                          Phoenix, AZ 85016
                          ken@kennethlosch.com


                   CC: Michael Jones, Esq.
                       Philip Giles, Esq.
                       Allen Barnes & Jones, PLC
                       1850 N. Central Avenue, Suite 1150
                       Phoenix, AZ 85004
                       mjones@allenbarneslaw.com
                       pgiles@allenbarneslaw.com


          26.      Saturday, Sunday or Legal Holiday Resets Date. As to any date of required
 performance set forth herein, if such date shall fall on a Saturday, Sunday, or legal holiday shall
 automatically be deemed reset to the next business day and performance shall be deemed timely
 under this Agreement provided that performance is rendered by the date reset by this provision.

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             LOMAR HOLDINGS, LLC                                        DF EMPOWER, LLC

             By:                                                        By:

             Its:                                                       Its:

             BEACH CORP.

             By:

             Its:

                                                                  Defendants

             DUAL FUEL, LLC                                             KENNETH LOSCH

             By:

             Its:

             COCHISE INVESTMENTS, LLC                                   LORI LOSCH

             By:

             Its:

                                                           Non-Litigating Parties

             MICHAEL DRANCE                                             TERRY KENNON




             MICHAEL BROWN                                              GREG BROWN




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                          SETTLEMENT AGREEMENT AND MUTUAL RELEASE
                                 (AGI, et al. v. Dual Fuel, LLC, et. al.)

                                                             Introduction

                        THIS SETTLEMENT AGREEMENT AND MUTUAL RELEASE ("Agreement") is
            entered into on the 25th day of June, 2021, by and between: 1) Plaintiffs: Advanced Green
            Innovations, LLC ("AGI"), ZHRO Solutions, LLC and ZHRO Power, LLC (collectively
            "ZHRO") and together with AGI, the "Debtor Plaintiffs"1, together with Green Engine
            Conversions, LLC, Green Tech Diesel Conversions, LLC, Dual Fuel AZ II, LLC, Conway Feed,
            LLC, Lomar Holdings, LLC, DF Empower, LLC, and Beach Corp. (collectively the "Non-Debtor
            Plaintiffs") (Debtor Plaintiffs and the non-Debtor Plaintiffs are together referred to as the
            ("Plaintiffs"); and 2) the Defendants: Dual Fuel, LLC ("Dual Fuel"), Kenneth and Lori Losch
            ("Losch"), and Cochise Investments, LLC ("Cochise,") (collectively the "Defendants").
            Additional parties to this Agreement are Michael Drance, Terry Kennon, Michael Brown, Greg
                                             xxxx Michael Hill, Comanche Gas Solutions, LLC, Brian
            Brown, Thomas C. Niccoli, Kasey Knoles,
                                            Noles
            Snider, Adam Webb, John Madrigal, Robert Gunnell, Sebastean Losch, Kristean Losch, and
            Theodore Claassen, Sr. ("Non-Litigating Parties"). Collectively, the Plaintiffs, the Defendants,
            and all Non-Litigating Parties shall be referred to herein as the Parties.


                                                                  Recitals
                A.             APG Shares. As of date of this Agreement, American Power Group, Inc. ("APG")
            has issued 243,113,500 shares of stock to Dual Fuel ("Dual Fuel Stock"). In addition, APG has
            56,032,400 additional shares which are eligible for issuance to Dual Fuel. The Dual Fuel Stock
            and the additional 56,032,400 shares (total 299,145,900 shares) of APG shall be referred to herein
            as the "APG Shares." The ownership of the APG Shares is the subject of claims in the Adversary
            Case, defined below. Debtor Plaintiffs allege, among other things, that such shares were rightfully
            the property of the Debtor Plaintiffs, and should not have been issued, and should not be issued,
            to Dual Fuel. Plaintiffs secured the TRO and Preliminary Injunction (both defined below), among




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              Debtor Plaintiffs are succeeded by the reorganized debtor, Proteum Energy, LLC ("Proteum"). Proteum is a Party
            to this Agreement, and will execute this Agreement on behalf of the Debtor Plaintiffs.

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            other reasons, in order to reflect that the APG Shares are subject to adverse claims of ownership.
            Defendants dispute Plaintiffs’ assertions and allege that Dual Fuel rightfully owns the APG Shares.


                B.             Conway Feed Case. On October 11, 2019, Conway Feed, LLC filed suit against
            Dual Fuel, LLC. Case No. CV2019-013572, Maricopa County Superior Court ("Conway Feed
            Case"). The Default Judgment was entered on June 15, 2020 and was later set aside pursuant to
            the Motion to Set Aside Default. A Stipulation and Joint Request to Reschedule Scheduling
            Conference were filed on May 21, 2021. An Order vacating the Rule 16(d) Scheduling Conference
            was entered May 26, 2021. The Conway Feed Case remains pending before the Superior Court.


                C.             Bankruptcy Cases. On September 16, 2019, Advanced Green Innovations, LLC, a
            Nevada limited liability company and its wholly owned subsidiaries ZHRO Solutions, LLC, a
            Nevada limited liability company; and ZHRO Power, LLC, a Delaware limited liability company
            (collectively the "Debtors"), filed their voluntary Chapter 11 bankruptcy petitions under Title 11
            of the United States Code (the "Bankruptcy Code") in the United States Bankruptcy Court for the
            District of Arizona (the "Bankruptcy Court") (the "Petition Date"), Case Nos. 2:19-bk-11766-
            MCW, 2:19-bk-11771-MCW, and 2:19-bk-11768-MCW ("Bankruptcy Cases").


                D.             Adversary Case. On March 11, 2020, Plaintiffs filed the adversary Complaint
            (Verified) (Usurpation of Corporate Opportunity, Fraudulent Transfer, Securities Fraud, Fraud,
            Misappropriation, Turnover, Request for Imposition of Constructive Trust, Temporary Restraining
            Order, Injunction, Avoidance of Post-Petition Transfer) [Dkt. No. 1] against the Defendants,
            Adversary Case No. 2:20-ap-00068-MCW ("Adversary Case").


                E.             Cases. Together, the Conway Feed Case and the Adversary Case shall be referred
            to as the "Cases."


                F.             TRO.      On March 11, 2020, the Bankruptcy Court entered the Temporary
            Restraining Order [Dkt. No. 5] (“TRO”). The TRO enjoined, among other things, Defendants
            from alienating, transferring, dissipating or otherwise disposing of the APG Shares, or any other
            any interests in APG pending further order of the Court.


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                G.             Preliminary Injunction.            The Bankruptcy Court entered the Order Granting
            Preliminary Injunction [Dkt. No. 54] on June 3, 2020 (“Preliminary Injunction”). Thereafter,
            the Plaintiffs recorded the following UCC documents (collectively, the “UCCs”): on June 5, 2020,
            a UCC-1 was recorded by the Iowa Secretary of State [No. P20001312-3]; on June 26, 2020, a
            UCC-1 was recorded by the Arizona Secretary of State [No. 2020-004-1384-9], and on June 4,
            2020, a UCC-1 was recorded by the Delaware Department of State [No. 2020 3916469]. The
            Preliminary Injunction echoed the terms of the TRO.


                H.             Plan. On July 22, 2020, the Court entered the Order Confirming Chapter 11 Plan
            of Reorganization Jointly Proposed by the Debtors, CH4 Power, LLC, and the Ad Hoc Committee
            of Certain Creditors Dated June 8, 2020 [Dkt. No. 455].


                I.             Contribution and Recovery Agreement. On March 1, 2020, the Plaintiffs entered
            into the Contribution and Recovery Agreement ("CRA"). Under that agreement, costs and
            recoveries were shared amongst the Plaintiffs based upon the agreed percentages in Exhibit A
            thereto.


                J.             Second Amended Complaint. On September 10, 2020, the Plaintiffs filed the
            Second Amended Complaint (Verified) (Usurpation of Corporate Opportunity, Fraudulent
            Transfer, Securities Fraud, Fraud, Misappropriation, Turnover, Request for Imposition of
            Constructive Trust, Temporary Restraining Order, Injunction, Avoidance of Post-Petition
            Transfer) [Dkt. No. 76] in adversary case 2:20-ap-00068-MCW.


                K.             Answer. On September 25, 2020, the Defendants filed their Answer to the Second
            Amended Complaint [Dkt. No. 79].


                L.             Non-Litigating Parties.        Michael Drance ("Drance") invested in a Dual Fuel
            distributorship agreement, but is not a plaintiff in the Adversary Case. The Plaintiffs and the
            Defendants desire to resolve any potential claims of Drance in this Agreement. Defendants and
            Plaintiffs have propounded various discovery requests concerning the acts of Terry Kennon,


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                                                                 xxxx Michael Hill, Comanche Gas
            Michael Brown, Greg Brown, Thomas C. Niccoli, Kasey Knoles,
                                                                             Noles
            Solutions, LLC, Brian Snider, Adam Webb, John Madrigal, Robert Gunnell, Sebastean Losch,
            Kristean Losch, and Theodore Claassen, Sr. related to the Adversary Case. The Parties desire to
            resolve any potential assertions concerning such parties in this Agreement.


                M.             Motion to Implement. The Parties have determined to resolve all of the issues and
            claims between them, and agree to permit the Court to order: (1) the modification of the
            Preliminary Injunction and implementation of this Agreement, (2) the return of Dual Fuel Stock
            to APG for, the re-distribution of the APG Shares as set forth herein, and (3) such other matters as
            required to implement the Agreement ("Motion to Implement").


                N.             Standstill and no admissions. A Notice of Preliminary Settlement and Stipulation
            has been filed with the Bankruptcy Court on May 26, 2021. The Court entered an Order Granting
            Stipulation for Litigation Standstill on May 27, 2021 [Dkt. No. 186]. The Parties desire to
            compromise and settle, without admission of liability by any Party, any and all claims, causes
            of action, actions, demands, damages, and costs, whether known, suspected or unknown, fixed,
            contingent, liquidated or unliquidated in any way relating to the Cases, Dual Fuel or APG, and
            any and all threatened claims or counterclaims related to the Cases.


                        NOW, THEREFORE, for and in consideration of the mutual promises and covenants,
            warranties, releases and agreements contained herein, and other good and valuable consideration
            to each of the Parties hereto, the receipt and sufficiency of which are hereby acknowledged,
            the Parties do hereby covenant and agree as follows:


                                                                  Terms


                        1.     Recitals Incorporated. The Recitals set forth above are incorporated herein by
            reference and shall constitute Terms of this Agreement.


                        2.     No Other APG shares Owned by Defendants. Defendants each represent and
            warrant, that other than the APG Shares, there are no other APG shares issued to, nor any options,

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            warrants, executory purchase agreements, or other rights to acquire, or exercise any proxy for, any
            additional shares of APG available to any Defendant or any entity directly or indirectly affiliated
            with any of the Defendants, and/or, other than existing APG shareholders, any “insider” of
            Defendants, as that term is defined in 11 U.S.C. §101 (31).


                        3.      Modification of Preliminary Injunction. Plaintiffs agree to permit the Court to
            order modification of the Preliminary Injunction and UCC-1s (which recorded the Preliminary
            Injunction) as necessary for the Court to order performance of this Agreement. Plaintiffs will file
            an appropriate motion ("Motion to Implement ") within two (2) business days of execution of
            this Agreement by all parties hereto. Defendants will join in the Motion. The Plaintiffs and
            Defendants agree to seek expedited consideration by the Bankruptcy Court of the Motion. The
            Motion shall request the Court order return of the stock issued to Dual Fuel to APG and the
            redemption and reissuance of the stock by APG as provided herein, and the terms of such issuance,
            and will otherwise ask the Court to order implementation of this Agreement. The Court's final and
            non-appealable order granting the Motion to Implement shall be referred to herein as the "Order
            Approving and Implementing Settlement."


                        4.      Transfer of APG Stock Back to APG. Within two (2) business days of the entry
            of the Order Approving and Implementing Settlement, Dual Fuel will return any and all original
            APG stock certificate(s) to APG, for subsequent re-issuance as noted in Sections 5 and 6 below.


                        5.      Transfer of APG Stock to Plaintiffs. Within 2 business days of APG receiving
            the return of the Dual Fuel Stock certificate, in accordance with the Order Approving and
            Implementing Settlement, APG agrees to instruct its transfer agent to issue stock certificates
            representing 80% (239,316,720 shares) of the APG Shares, in the aggregate, with all voting rights
            with respect to such shares, to the following parties (amounts are based upon the CRA):
                        Proteum Energy, LLC (Reorganized AGI /ZHRO)               47,863,344 shares
                        Green Engine Conversions, LLC                             86,996,404 shares
                             Bender Ventures, LLC
                             BTPez, LLC
                             DG & KIKI Family Investments, LLC
                             Fishes & Loaves LLC


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                           Robert R. & Barbara E. Fraley
                           Rocky Gingg
                           Graham Family Investments, LLC
                           Linda M. and Peter A. Hamstra
                           TandKHowardIII, LLC
                           Paul C. Kottler and Bethany Powell JTWROS-
                           Joint Tenants with Right of Survivorship
                           Reg C. Martin
                           Olson Office Warehouse, LLC
                           Pauley Family Trust
                           Teri M. Pebsworth Supplemental Needs Trust
                           Tailing Tarpon LLC
                           David L. Tyson
                           Charles Vagrosky
                           Robert T. & Andrea M. VanHofwegen
                           Young Family Living Trust
                        Dual Fuel AZ II, LLC                                    47,403,866 shares
                        Conway Feed                                             7,811,298 shares
                        DF Empower, LLC                                         31,264,336 shares
                           West Coast Enterprises LP
                           WG Partners LLC
                           Claasen JR PLC
                           Jackson Enterprises LLC
                           Ron and Nancy Hanson
                           C3 Green II LLC
                        Green Tech Diesel Conversions, LLC                      5,992,491 shares
                        Lomar Holdings, LLC                                     7,485,827 shares
                        Beach Corp.                                             4,499,154 shares
                    The newly issued shares will be subject to restrictions under 17 C.F.R. § 230.144 ("Rule
            144"), and must be held for one year before they can be sold under Rule 144. If any transferee
            acquires 10% or more of the outstanding shares of APG, the transferee will be deemed an
            “Affiliate” and the shares deemed to be “Control Securities.” Control Securities transferred in
            compliance with Rule 144 can become freely tradeable immediately, but if Rule 144 is not met,
            they become “restricted securities,” as though they had been issued directly by the company in an
            unregistered private placement. No individual Plaintiff, nor any group of Plaintiffs, shall be
            considered or deemed to be a successor or assign of Dual Fuel by reason of the issuance of the
            APG Shares as set forth herein.

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                    6.      Transfer of APG Stock to Dual Fuel. In addition, within two (2) business days
            of APG receiving the return of the Dual Fuel Stock certificate and in accordance with the Order
            Approving and Implementing Settlement, APG agrees to instruct its transfer agent to reissue a
            stock certificate representing 20% (59,829,180 shares) from the existing stock certificate of the
            Dual Fuel APG Shares, with all voting rights with respect to such shares, to Dual Fuel. The newly
            issued shares will be subject to restrictions under Rule 144.

                    7.      APG Board of Directors. Effective upon entry of the Order Approving and
            Implementing the Settlement: (a) Defendant Losch shall be deemed to have resigned from the
            APG Board of Directors, and resigns in any capacity as an officer, director, employee, consultant,
            licensee or agent of APG; (b) Defendants assign all of Dual Fuel's rights, such as they may be, to
            nominate board members of APG to Plaintiffs, and (c) Defendants assign any other operational
            controls that Dual Fuel may possess with respect to APG, to Plaintiffs. Defendants represent and
            warrant that other than the APG stock that was issued to Dual Fuel under this Agreement, they
            have, or will have, no rights, positions, or agreements with respect to APG. Defendants agree that
            Dual Fuel will, if a share vote is required, vote its shares in favor of the Board candidate(s)
            proposed by Plaintiffs, or some of them. Losch agrees that he will not serve in the capacity as an
            officer, director, board member, employee, licensee or consultant of APG.

                   8.     Master Dealer Installer Agreement. Effective upon entry of the Order Approving
            and Implementing the Settlement, Defendants agree that the Master Dealer-Installer Agreement,
            and any and all amendments thereto, between Dual Fuel and APG is terminated, and that
            Defendants, and any and all affiliates of Defendants, shall have no further rights with respect to
            such agreement.

                    9.      Termination of the Preliminary Injunction and Dismissal With Prejudice.
            Within 5 business days of: (1) The Order Approving and Implementing the Settlement, and (2)
            APG's compliance with the terms of this Agreement, the Plaintiffs and Defendants will submit a
            stipulation that all litigation between them (the Cases) will be dismissed with prejudice, that the
            Preliminary Injunction shall terminate and be of no further effect, and that no costs or fees will be
            assessed by the Court in favor of any Party. Upon the Court's Dismissal With Prejudice of the

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            Adversary Case, the Plaintiffs will record termination notices for the UCC's within 5 business
            days. The Parties agree that, subject to the Bankruptcy Court's discretion, the Bankruptcy Court
            may retain, or be referred, jurisdiction to enforce this Settlement Agreement, and that any action
            to enforce or for interpretation of this Settlement Agreement or any related matter, may be brought
            in the United States Bankruptcy Court for the District of Arizona, and the parties agree to submit
            to the exclusive jurisdiction of, and agree that venue is proper in, such Court, and that such forum,
            shall be the exclusive forum for resolving disputes arising out of this Agreement. The Parties waive
            any jury trial rights with respect to any controversy concerning this Agreement.

                   10. Mutual Releases. Upon Entry of the Order Approving and Implementing the
            Settlement, the following releases shall be automatically and fully effective as set forth herein:

                            a.      Plaintiffs release Defendants. Plaintiffs, on behalf of themselves and their
            agents, representatives, attorneys, officers, directors, shareholders, employees, members,
            successors and assigns, do hereby release, remise, and forever discharge, and covenant not to bring
            against Defendants, and parties included therein, and their agents, representatives, attorneys,
            officers, directors, shareholders, members, employees, successors and assigns, (i) any and all
            claims, causes of action, actions, demands, damages, and costs, whether known, suspected or
            unknown, fixed, contingent, liquidated or unliquidated which are in any way related to the Cases,
            Dual Fuel or APG, and (ii) any and all threatened claims or counterclaims related to the Cases.

                            b.      Defendants release Plaintiffs. Defendants, on behalf of themselves and their
            agents, representatives, attorneys, officers, directors, shareholders, employees, members,
            successors and assigns, do hereby release, remise, and forever discharge, and covenant not to bring
            against Plaintiffs, and parties included therein, and their agents, representatives, attorneys,
            officers, directors, shareholders, members, employees, successors and assigns, (i) any and all
            claims, causes of action, actions, demands, damages, and costs, whether known, suspected or
            unknown, fixed, contingent, liquidated or unliquidated which are in any way related to the Cases,
            Dual Fuel or APG, and (ii) any and all threatened claims or counterclaims related to the Cases.

                         c.    Release of Non-Litigating Parties. Plaintiffs and Defendants, on behalf of
            themselves and their agents, representatives, attorneys, officers, directors, shareholders,

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            employees, members, successors and assigns, do hereby release, remise, and forever discharge,
            and covenant not to bring against the Non-Litigating Parties, and parties included therein, and their
            agents, representatives, attorneys, officers, directors, shareholders, members, employees,
            successors and assigns, (i) any and all claims, causes of action, actions, demands, damages, and
            costs, whether known, suspected or unknown, fixed, contingent, liquidated or unliquidated which
            are in any way related to the Cases, Dual Fuel or APG, and (ii) any and all threatened claims or
            counterclaims related to the Cases. Notwithstanding anything in this Agreement to the contrary,
            nothing in this Agreement shall release any investors' interests in any Non-Debtor Plaintiff.

                            d.    Release by Non-Litigating Parties. The Non-Litigating Parties , on behalf
            of themselves and their agents, representatives, attorneys, officers, directors, shareholders,
            employees, members, successors and assigns, do hereby release, remise, and forever discharge,
            and covenant not to bring against Plaintiffs or the Defendants, and parties included therein, and
            their agents, representatives, attorneys, officers, directors, shareholders, members, employees,
            successors and assigns, (i) any and all claims, causes of action, actions, demands, damages, and
            costs, whether known, suspected or unknown, fixed, contingent, liquidated or unliquidated which
            are in any way related to Dual Fuel or APG, and (ii) any and all threatened claims or
            counterclaims related to the Cases. Notwithstanding anything in the Agreement to the contrary,
            nothing in this Agreement shall release any investors' interests in any Non-Debtor Plaintiff.

                           e.      For clarity, there are no releases between and among the Non-Litigating
            Parties contained in this Agreement.

                            f.      Notwithstanding anything to the contrary in this Agreement, the Parties
            reserve the right to enforce provisions of this Agreement.

                           g.      Without modifying or reducing the releases set forth in 10 a through d
            herein, no Party hereto is indemnifying or insuring any other Party from or against any potential
            claims by third parties.

                   11. Notice to U.S. Attorney's Office. The Motion to Implement shall be served upon the
            United States Attorney for the District of Arizona, to the attention of the counsel assigned to
            Losch's pending criminal case before the United States District Court for the District of Arizona,

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            Case No. CR-19-00294-001-PHX-MTL. In the event there is any objection to the Motion to
            Implement filed by the U.S. Attorney's office, and if the objection is that this Agreement is legally
            unable to be performed and such objection is determined to be valid by entry of an order from a
            court of competent jurisdiction, this Agreement will be deemed null and void, and it may not be
            relied upon for any purpose.

                      12. No Representations Regarding Tax/ Securities Treatment. No party to this
            Agreement is relying upon any advice or representations of any other party with respect to the tax
            consequences, or securities consequences, of this Agreement. Each party hereto expressly agrees
            that it is responsible for seeking and obtaining appropriate tax or accounting advice, and securities
            trading advice.

                    13.      Advice of Counsel. Each party has received independent legal advice from their
            attorney with respect to the advisability of making the settlement set forth herein, and executing
            this Settlement Agreement. All parties hereto agree that they, or their representatives, participated
            in the drafting of this Agreement or had the opportunity to do so. All parties hereto agree that they
            were separately represented and advised by counsel with respect to the provisions of this
            Agreement.

                    14. No Admission. The Parties agree that in entering into this Settlement Agreement
            there is no admission of any liability, wrongdoing or fault.

                   15. Governing Law. This Settlement Agreement shall be construed and enforced in
            accordance with the laws of the State of Arizona and the United States of America.

                   16. Joint Drafting. Each Party has cooperated in and reviewed the drafts and
            preparation of this Settlement Agreement and no Party shall be deemed the "drafter" in this
            Agreement. Hence, the Agreement shall be construed within its fair meaning and not against any
            Party hereto.

                    17. Attorneys Fees. No attorney's fees or costs shall be assessed against or for any
            Party as the result of the Litigation. However, in the event that there is litigation commenced after

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            the date that this Settlement Agreement is executed asserting a breach of this Settlement
            Agreement, the prevailing party or parties shall be entitled to recover costs, including reasonable
            attorney's fees incurred in such litigation to enforce the terms of this Settlement Agreement.

                    18. Entire Agreement. This Agreement constitutes the entire agreement of the Parties
            relating to the subject matter of this Agreement and supersedes all prior oral and written
            agreements relating to the subject matter of this Agreement.

                   21. Modification. This Agreement may not be amended, supplemented, changed or
            modified in any manner, except by a writing signed by each of the Parties, Moreover, parole
            evidence cannot be used to interpret, alter, or contradict the terms of this Agreement.

                   22. Severance. If any provision or part of any provision of this Agreement shall for
            any reason be held to be invalid, unenforceable or contrary to public policy or any law, then the
            remainder of the Agreement shall not be affected thereby and shall remain in full force and effect.

                   23. Non-Disparagement/Confidentiality Provision. The Parties and their counsel
            recognize that this Agreement will be filed with the Court as an exhibit to the Motion to Implement.
            Further, the Parties understand that certain other parties will reasonably require knowledge of this
            Agreement in order to complete future transactions. The Parties are permitted to advise their
            investors, shareholders or members of this Agreement. The Parties agree to reasonably refrain
            from further commenting upon or publicizing this Agreement, unless required by law.

                    24. Counterparts, Required Dates of Execution. This Agreement may be executed
            in counterparts by .pdf, and counsel representing each respective Party shall e-mail a .pdf of the
            signatures to the opposing counsel. The Parties reserve the right to later request original signatures
            from the Plaintiffs and Defendants, allowing a reasonable period time for transmittal of such
            originals. Plaintiffs, Defendants and Drance are each required to execute this Agreement, and
            provide at least a .pdf signature to their counsel by June 25, 2021, or this Agreement shall be
            deemed null and void. Non-Litigating Parties (other than Drance), if they wish to derive the benefit
            of any provision of this Agreement, must each execute this Agreement by no later than July 2,
            2021 at 5:00 P.M. Arizona time and must provide a .pdf of its signature to either counsel for
            Plaintiffs or counsel for the Defendants by such date and time. Any Non-Litigating Party (other

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            than Drance) that fails to execute this Agreement on or before such date and time shall be
            deemed "dropped" as a party to this Agreement, shall be excluded from the Agreement, and
            shall not be entitled to any benefits hereunder. The Agreement shall be deemed fully binding
            and valid regardless of whether a Non-Litigating Party "drops" by virtue of a failure to timely sign.

                    25. Notice. Notice given to any party under this Agreement shall be given by e-mail,
            with a copy sent by overnight express mail, and shall be deemed effective two full business days
            after sending the overnight express mail. Courtesy copies do not constitute notice to a party.
            Notices shall be provided at the following addresses:



                                                             Debtor Plaintiffs:
             ADVANCED GREEN INNOVATIONS, LLC                           ZHRO SOLUTIONS, LLC
             Attn: John D. Rosenfeld                                   Attn: John D. Rosenfeld
             c/o Proteum Energy, LLC                                   c/o Proteum Energy, LLC
             120 N 44th Street, Suite 400                              120 N 44th Street, Suite 400
             Phoenix AZ 85034                                          Phoenix AZ 85034
             john.rosenfeld@proteumenergy.com                          john.rosenfeld@proteumenergy.com
             ZHRO POWER, LLC
             Attn: John D. Rosenfeld
             c/o Proteum Energy, LLC
             120 N 44th Street, Suite 400
             Phoenix AZ 85034
             john.rosenfeld@proteumenergy.com

                                                           Non-Debtor Plaintiffs:
             Perry Pauley                                              Brian Tolman
             GREEN ENGINE CONVERSIONS, LLC                             GREEN TECH DIESEL CONVERSIONS, LLC
             4920 W Electra Ln                                         3681 E Arabian Dr
             Glendale AZ 85310                                         Gilbert AZ 85296
             ppauley05@gmail.com                                       brian@greentechdiesel.com
             Kyle Conway                                               Kyle Conway
             DUAL FUEL AZ II, LLC                                      CONWAY FEED, LLC
             1620 E Country Ln                                         1620 E Country Ln
             Gilbert AZ 85298                                          Gilbert AZ 85298
             kyle@dualfuelaz.com                                       kyle@dualfuelaz.com


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             Mark Williams                                             Ryan Zeleznak
             LOMAR HOLDINGS, LLC                                       DF EMPOWER, LLC
             mark@lomarcompanies.com                                   10168 E Bayview Dr
                                                                       Scottsdale AZ 85258
                                                                       ryan@creamistryn7.com
             Jeff Beach
             BEACH CORP.
             7114 E. Stetson Dr., Ste. 400
             Scottsdale AZ 85251
             jbeach@hogangroupaz.com

                               CC: Michael W. Carmel, Esq.
                                   Law Offices of Michael W. Carmel, Ltd.
                                   80 East Columbus Avenue
                                   Phoenix, AZ 85012
                                         Alisa C. Lacey, Esq.
                                         Stinson, LLP
                                         1850 N. Central Avenue, Suite 2100
                                         Phoenix, AZ 85004

                               Defendants:
                                         Ken Losch
                                         2801 E. Camelback Rd. Suite 200
                                         Phoenix, AZ 85016
                                         ken@kennethlosch.com

                               CC: Michael Jones, Esq.
                                   Philip Giles, Esq.
                                   Allen Barnes & Jones, PLC
                                   1850 N. Central Avenue, Suite 1150
                                   Phoenix, AZ 85004
                                   mjones@allenbarneslaw.com
                                   pgiles@allenbarneslaw.com

                   26. Saturday, Sunday or Legal Holiday Resets Date. As to any date of required
            performance set forth herein, if such date shall fall on a Saturday, Sunday, or legal holiday shall
            automatically be deemed reset to the next business day and performance shall be deemed timely
            under this Agreement provided that performance is rendered by the date reset by this provision.

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                  Wherefore, this Settlement Agreement has been executed by Plaintiffs, Defendants, and
            Drance effective June 25, 2021.


                                                             Debtor Plaintiffs:
             ADVANCED GREEN INNOVATIONS, LLC

             By:

             Its:

             ZHRO SOLUTIONS, LLC                                       ZHRO POWER, LLC

             By:                                                       By:
             Its:                                                      Its:

                                                           Non-Debtor Plaintiffs:
             GREEN ENGINE CONVERSIONS, LLC                             GREEN TECH DIESEL CONVERSIONS,
                                                                       LLC

             By:                                                       By:
             Its:                                                      Its:

             DUAL FUEL AZ II, LLC                                      CONWAY FEED, LLC

             By:                                                       By:
             Its:                                                      Its:




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             LOMAR HOLDINGS, LLC                                        DF EMPOWER, LLC

             By:                                                        By:
             Its:                                                       Its:

             BEACH CORP.

             By:
             Its:
                                                                  Defendants
             DUAL FUEL, LLC                                             KENNETH LOSCH

             By:
             Its:

             COCHISE INVESTMENTS, LLC                                   LORI LOSCH

             By:
             Its:

                                                           Non-Litigating Parties
             MICHAEL DRANCE                                             TERRY KENNON



             MICHAEL BROWN                                              GREG BROWN




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             THOMAS C. NICCOLI                                               KNOLES Noles
                                                                       KASEY xxxxxxxx



             MICHAEL HILL                                              COMANCHE GAS SOLUTIONS, LLC
                                                                                  
                                                                       By:
                                                                                    
                                                                       Its:

             BRIAN SNIDER                                              ADAM WEBB




             JOHN MADRIGAL                                             ROBERT GUNNEL



             THEODORE CLAASSEN, SR.                                    KRISTEAN LOSCH



             SEBASTEAN LOSCH




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                         Exhibit B




                                                                      Exhibit B
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 Transfer of APG Stock to Plaintiffs. Within 2 business days of APG receiving the
 return of the Dual Fuel Stock certificate, in accordance with the Order Approving
 and Implementing Settlement, APG agrees to instruct its transfer agent to issue stock
 certificates representing 80% (239,316,720 shares) of the APG Shares, in the
 aggregate, with all voting rights with respect to such shares, to the following parties
 (amounts are based upon the CRA) updated as follows:


  ENTITY                                                                      SHARES

  Proteum Energy, LLC (Reorganized AGI /ZHRO)                              47,863,344


  Green Engine Conversions II, LLC:

     Bender Ventures, LLC                          1.03452%                   900,000

     BTPez, LLC                                    0.39779%                   346,063

     DG & Kiki Family Investments, LLC             9.51635%                 8,278,882

     Fishes & Loaves LLC                           8.62068%                 7,499,682

     Robert R. & Barbara E. Fraley Trust           13.7931%                11,999,501

     Rocky Gingg                                   1.65692%                 1,441,461

     Linda M. and Peter A. Hamstra                 6.89655%                 5,999,742

     TandKHowardIII, LLC                           0.52107%                   453,312

     Paul C. Kottler and Bethany Powell            0.14373%                   125,000
     JTWROS-Joint Tenants with Right of
     Survivorship

     Reg C. Martin                                 0.28736%                   250,000

     Olson Office Warehouse, LLC                   9.51635%                 8,278,882

     Pauley Family Trust                           21.11545%               18,369,685

     Teri Pebsworth Supplemental Needs             0.54491%                   474,052
     Trust


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      Tailing Tarpon LLC                             0.28736%                250,000

      David L. Tyson                                 4.6275%               4,025,759

      Charles Vagrosky                               4.6275%               4,025,759

      Robert T. & Andrea M. Van Hofwegen             9.51635%              8,278,882

      Young Family Living Trust                      6.89655%              5,999,742


  Dual Fuel AZ II, LLC                                                    47,403,866


  Conway Feed                                                              7,811,298


  DF Empower, LLC:

      West Coast Enterprises LP                                           16,533,439

      WG Partners LLC                                                     13,657,098

      Claassen Jr. PLC                                                       646,143

      C3 Green II LLC                                                        150,468

      Jackson Enterprises LLC                                                184,742

      Ronald R. and Nancy C. Hansen                                           92,446


  Green Tech Diesel Conversions, LLC:

      Florin Capital Solutions, LLC                                        5,992,491


  Lomar Holdings, LLC                                                      7,485,827


  Beach Corp.                                                              4,499,154




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